Case 1:17-cv-00928-EAW-LGF Document 1-1 Filed 09/18/17 Page 1 of 32

 

 

rr »~
E_P/` z ‘
suPREME couRT oF THE sTATE oF NEw YoRK SH;;,;/ :}_- ~
couNTY oF ERlE 20 ~ - _
x UAUG 2 ..
cARL M. MlLLER 2 F" 2" 02
Plaimiff/Petitioner,
- against - - index No. 81'1385/2017 -
COUNTY OF ER|E, ET. AL.
Defendant/Respondent.

 

x _
NOT|CE OF COMMENCEMENT OF ACT|ON
SUBJECT TO MANDATORY ELECTRON|C FlLlNG

PLEASE TAKE NOT|CE that the matter captioned above has been commenced as an
electronically filed case in the New York State Courts E|ectronic Filing System ("NYSCEF") as
required by CPLR § 2111 and Uniform Rule § 202.5-bb (mandatory electronic filing). This notice
is being served as required by that rule. _

NYSCEF is designed for the electronic filing of documents with the County Clerk and the
court and for the electronic service of those documents, court documents, and court notices upon
counsel and unrepresented litigants who have consented to electronic filing.

E|ectronic filing offers significant benefits for attorneys and litigants, permitting papers to be

filed with the County Clerk and the court and served on other parties simply, conveni_ently, and

. quickly. NYSCEF case documents are filed_ with the County Clerk and the court by filing on the

NYSCEF W_ebsite,_which can be done at any time of the day or night on a_ny day of the week. The

documents are served automatically on all consenting e-filers as soon as the document is uploaded
to t_he` website, which sends out an immediate email notification of the filing.

The NYSCEF System charges no fees for filing, serving, or viewing the electronic case
record, nor does it charge any fees to print any filed documents. Normal filing fees must be paid,
but this can be done on-line.

Parties represented by an attorney: An attorney representing a party who is served with
this notice must either: 1) immediately record his or her representation within the e~filed matter on
the NYSCEF site; or 2) file the Notice of Opt-Out form with the clerk of the court where this action
is pending. Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
they lack the computer hardware and/or scanner and/or internet connection orthat they lack (a|ong
with all employees subject to their direction) the operational knowledge to comply with e-fi|ing
`requirements. [Section 202.5-bb(e)]

Parties not represented by an attorney: Unrepresented litigants are exempt from e-

filing. They can serve and file documents in paper form and must be served with documents
in paper form. However, an unrepresented litigant may participate in e-fi|ing.

Page1 of 2 EFl\/|-1

\ Case 1:17-cv-00928-EAW-LGF Document 1-1 Filed 09/18/17 Page 2 of 32

For information on how to participate in e-filing, unrepresented litigants should contact the
appropriate clerk in the court where the action was filed or visit www.nycourts.qov/efile-
unrepresented. Unrepresented litigants also are encouraged to visit www.nycourthe|p.gov or
contact the Help Center in the court where the action was ti|ed. An unrepresented litigant who
consents to e-ti|ing may cease participation at any time. However, the other parties may continue
to e-file their court documents in the case.

 

For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEFwebsite atwww.n courts. ov/efi|e

386-3033; e-mai|: efile@nycourts.gov).

                                                 

 

Dated 08/17/2017

?//////////- 4819 South Park Avenue

 

 

 

 

 

 

Signature Address
Leonard D. Zacc_agnino Hamburgl NY 14075
Name /
shaw & shaw, P.c. _ ` (716) 648-3020
Firm Name Phone

lzaccagnino@shaw|awpc.com

E-Mai|

 

To: ~

 

 

9/3/15

index # Page2 of2 EFl\/l-1

.u INDEx No. 811385/2017
“-'-'o 09/18/17 Palg/e 3 of 32
RECE ap NYSCEF= 08/17/2017

 

` NYSCEF Doc. No.l

STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE

 

CARL M. MILLER
171 Kokomo St_reet
Buffalo, NY 14043

PlaintiH`, SUMMONS
_vS_

COUNTY OF ERIE
95_Franklin Street
Buffalo, NY 14202

DEPARTMENT OF SHERIFF
OF ERIE COUNTY

10 Delaware Avenue

Buffalo, NY 14202

t TlMOTHY B. HOWARD
Erie County Sheritf
10 Delaware Avenue
Buffalo, NY 14202

THOMAS DIINA
Superintendent

Jail Management Division
Erie County Sheriff’s Off`lce
_40 Delaware Avenue '
Buffalo, NY 14202

. LIEUTENANT KRZYSZTOF KAN"IA
1385 Abbott Road #87
Buffalo, NY 14218

SARGENT CHRISTIAN J. SUNDBERG
' 107 Argus Drive
Depew, NY 14043

_ OFFICER DEANNA J. LATES
4332 East Frontier Drive
Buffalo, NY 14219

v LIEUTENANT KAREN A. YETZER
464 T own Line Road
Lancaster, NY 14086

Page1 of 4
1 of 30

 

 

INDE . 811385/2017
. . , -. 7 -- - -d09/18/17 Pa 9401§§
` NYSCEF DOC. NO. l RECEI ED NYSCEF: 08/17/2017

OFFICER KEITH L. ROBERTS
Erie County Correctional Facility
11581 Walden Avenue

A_lden, NY 1'4004

SARGENT RICHARD J. KOZACZKA
- 79 Homer Street
Buff`alo, NY 1421 6

OFFICER D. PAUL ROBINSON
_ 12 Saint Joseph Drive
Lancaster, NY 14086

OFFICER TIMOTHY M. WANAT
' 1166 Cleveland Drive
Cheektowaga, NY 14225

DAVID JULIAN, PA

Erie County Correctional Facility
11581 Walden Avenue

Alden, NY 14004

JAMES THOMAS

c/o Erie County Holding Center
10 Delaware Avenue

Buffalo, NY 14202

JOSEPH DAMICO

c/o Greene _Co.rrectional Facility
165 Plank Road

'Coxsackie, NY 12051

ARIEL SIMMS
1457 East Delavan Avenue #2
Buffalo, NY 14215

ROBERT GIBBENS, RN

Erie County Correctional Facility
11581 Walden Avenue

Alden, NY 14004

MAXIM HEAL'I`HCARE SERVICES, INC.
Individually and doing business as

MAXIM STAFFING SOLUTIONS

7227 Lee DeForest Drive

Colurnbia, MD 21046

Page 2 of 4

20f 30

    

 

 

. . . - :~ =. ' L1"-09/13/17 Pae50
` NYSCEF DOC. NO. l RECE ED NYSCEF:

MAXIM HEALTHCARE SERVICES, INC.
Individually and doing business as

MAXIM PI‘»IYSICIAN RESOURCES

7227 Lee DeF crest Drive

Columbia, MD 21046

JOHN DOES 1-10

lndividually and as employees of the
_Erie County Sheriff’s Department
lO`Delaware Avenue

Buff`alo, NY 14202

Defendants

 

TO THE ABOVE-NAMED DEFENDANTS:

YOU ARE HEREBY SUMMONED AND REQUIRED to serve upon the
plaintiff’s attomeys, at the address stated below, a written Answer to the attached Complaint.

lf this Summons is scrved upon you within the State of New York by personal
service you must respond within TWENTY (20) days after service, not counting the day of
service. lf this Surmnons is not personally delivered to you within the State of New York you
must respond within THIRTY (30) days-atter service is completed, as provided by law.

If you do not respond to the attached Complaint within the applicable time
limitation stated above a Judgment will be entered against you, by default, for the relief
demanded in the Complaint, without further notice to you.

Plaintiff` designates Erie County as the place of trial. The basis of venue is
plaintiffs residence

DATED: August 1, 2017
Hamburg, New York

Page 3 of 4

30f 30

, I.NDE%<;SO 811385/2017

08/17/2017

 

[_`I LED: ERI.§MCQUN)T

,, , _ j .y, NDEx No. 811385/2017
ac 4 w v . . w ...... -
` NYSCEF Doc. No.

o 09/18/17R EF’E3elg]6 0f32
sp NYSCEF: 08/17/2017

    

 

 

L;e£n{d¢ D. Zaccagnino
Attorneys for Plain

4819 South Park Avenue
Hamburg, New York 14075
(716) 648-3 020 Telephone
(716) 648-3730 Fax
lzaccagnino(a)shawlawpc.com

Page 4 of 4

40f 30

 

 
   

  
   

    

l INDE NO. 811385/2017
s-= . . -- ' e--‘-"'» 09/18/17 Pa e 7 oiez
` NYSCEF DOC. NO. l RECE ED NYSCEF: 08/17/2017

STATE OF NEW YORK
SUPREME COURT : COUNTY OF ERIE

 

. CARL Ml MILLER
171 Kokomo Street
Buffalo, NY 14043

Plaintiff, COMPLAINT
_vs_

COUNTY OF ERIE
~95 Franklin Street
Buffalo, NY 14202

DEPARTMENT OF SHERIFF
OF EKIE COUNTY

10 Delawa.re Avenue

Buffalo,` NY 14202

TIMOTHY B. HOWARD
Erie County Sheriff

10 Delaware Avenue
Buffalo, NY 14202

THOMAS DIINA

Superintendent

Jail Management Division _
Erie County Sheriff’s Offlce

40 Delaware Avenue

Buffalo, NY 14202

LIEUTENANT KRZYSZTOF KANIA
1385 Abbott Road #87
Bui`f`alo, NY 14218

SARGENT CHRISTIAN J. SUNDBERG
107 Argus Drive
Depew, NY 14043

OFFICER DEANNA J. LATES
4332 East Frontier Drive
Buffalo, NY 14219

LIEU'I`ENANT KAREN A. YETZER

464 Town Line Road
Lancaster, NY 14086

50f 30

  
   

l INDEX NO. 811385/201"-`
1 09/18/17 P3lg]e 8 of 32
REcE no NYSCEF; 08/17/2017

   

l
u. .\.‘

` NYSCEF Doc. Nol

OFFICER KEITH L. ROBERTS
Erie County Correctional Facility
11581 Walden Avenue

Alden, NY 14004

SARGENT_ RICHARD J. KOZACZKA
79 Homer Street
Buffalo, NY 14216

OFFICER D. PAUL ROBINSON
12 Saint Joseph Drive
Lancaster, NY 14086

OFFICER TIMOTHY M. WANAT
1166 Cleveland Drive
Cheektowaga, NY 14225

DAVID JULIAN, PA

Erie County Correctional Facility
11581 Walden Avenue

Alden, NY 14004

JAMES THOMAS

c/o Erie County Holding Center
10 Delaware Avenue

Buffalo, NY 14202

JOSEPH DAMICO

c/o Greene Correctional Facility
165 Plank Road

Coxsackie, NY 12051

ARIEL SIMMS
1457 East Delavan Avenue #2
Buffalo, NY 14215

ROBER'I` GIBBENS, RN

Erie County Correctional Facility
11581 Walden Avenue

Alden, NY 14004

MAXIM HEALTHCARE SERVICES, INC.
Individua]ly and doing business as

MAXJM STAFFING SOLUTIONS

7227 Lee DeForest Drive

Columbia, MD 21046

Page 2 of 26

6of 30

INDEX NO. 811385/201/

09/18/17 P3ge 9 of 32
REcE ven NYscEF; 08/17/2017

 

NYSCEF DOC. NO. l

MAXIM HEALTHCARE SERVICES, INC.
lndividually and doing business as

MAXIM PHYSICIAN RESOURCES

7227 Lee DeForest Drive

Columbia, MD 21046

JOHN DOES 1-10
Individually and as employees of the
Erie County Sheriff’s Depaltment
10 Delaware Avenue

.Buffalo, NY 14202

Defendants.

 

Plaintiff, by his undersigned counsel, alleges, upon personal knowledge, and upon
information and belief as to all other matters, as -follows:

1. This is an action to redress the deprivation by the defendants of the rights
secured to plaintiff by the United States Constitution, New York State Constitution, and federal and
state statute.

2. On Septernber 29 and 30, 2016, plaintiff was in the custody and control and
under the supervision of defendants County of Erie (“County”), Department of Sheriff of Erie
County (-“Sheriff”),' Tirnothy B. Howard (“Howard”), Thomas 1)iina (“Diina”), Lieutenant
Krzysztof Kania (“Kania”), Sargent Christian I. Sundberg (“Sundberg”), Officer Deanna J.
Lates (“Lates”), Lieutenant Karen A. Yetzer (“Yetzer”), Officer Keith L. Roberts (“Roberts”),
Sargent Richard J. Kozaczka, Jr. (“Kozaczka”), Officer Paul D. Robinson (“Robinson”),
Officer Timothy M. Wanat (“Wanat”), David Julian, PA (“Julian”), Robert Gibbens, RN
(“Gibbens”), John Does 1-10, Maxim Healthcare Services, Inc. and Maxim Health care Services,

lnc. (collectively, “Maxim”) and housed in the Erie County Correctional Facility located in Alden,

New York.

Page 3 of 26

7 Of 30

 
   

. INDi~:x No. 811385/201/
-. 09/18/17 P3Eg£e 10 of 32
aec

NYSCEF Doc. N" 1 van NYSCEF: 08/17/2017

3. That at the same time and place, defendants James Thomas (“Thornas”),
Joseph Damico (“Damico”) and Ariel Simms (“Sirnms”) were also under the custody and control
and under the supervision of defendants County of Erie (-“County”),'Department of Sheriff of Erie
County f“Sheriff’); Timothy ‘B. Howard (“Howard”), Thomas biina (“Diina”), Lieutenant
Krzysztof Kania (“Kania”), Sargent Christian I. Sundberg (“Sundberg”), Officer Deanna J.
Lates (“Lates”), Lieutenant Karen A. Yetzer (“Yetzer”), Officer Keith L. Roberts (“Roberts”),
Sargent Richard J. Kozaczka, Jr. (“Kozaczka”), Officer Paul D. Robinson (“Robinson”),
Officer Timothy M. Wanat (“Wanat”) and John Does 1-10 and were housed in the Erie County

Holding Center and Erie County Correctional Facility located in Alden, New York.

The Parties

4. By virtue of the application of one or more of the exemptions listed in
Section 1602 of Article 16 of the CPLR, the limitations and liability imposed by that Article do not
apply to the cause or causes of action set forth herein. l

5. Plaintiff at all times hereinafter mentioned, was and continues to be, a resident
of the City of Buffalo, County ofErie, and State ofNew York.

6. Upon information and belief, and at all times hereinafter mentioned, defendant
County is a duly organized municipal corporation within the State of New York and, as such, is
subjected and empowered to sue and be sued in the Supreme Court of the State ofNew York.

7. Upon information and belief, and at all times hereinafter mentioned, defendant
Sheri ff was and still is a police agency formed and existing under the laws of the State ofNew York,

was and continues to be a governmental subdivision of defendant County.

Page 4 of 26

Sof 30

DEX NO. 811.385/2011

IN
09/18/17 P3ge 11 Of 32 d
RECE vED NYSCEF: 08/17/201»

 

8. Upon information and belief, and at all times hereinafter mentioned, defendant
Howard was and is a resident of the County of Erie, State ofNew York, and was and still is an
employee of defendants County and Sheriff.

9. - Upon information and belief, and at all times hereinafter mentioned, defendant
Diina was and is a resident of the County of Erie, State ofNew York, and was and continues to be
an employee of defendants County and Sheriff.

1 0. Upon information and belief, and at all times hereinafter mentioned, defendant
Kania was and is a resident of the County of Erie, State ofNew York, and was and continues to be
an employee of defendants County and Sheriff.

1 1 . Upon information and belief, and at all times hereinafter mentioned, defendant
Sundberg was and is a resident of the County of Erie, State of New York, and was and continues to
be an employee of defendants County and Sheriff.

12. Upon information and belief, and at all times hereinafter mentioned, defendant
Lates Was and is a resident of the County of Erie, State ofNew York, and was and continues to be
an employee of defendants County and Sheriff.

l 3. ` Upon information and belief, and at all times hereinafter mentioned, defendant
Yetzer was and is a resident of the County ofErie, State of New York, and was and continues to be

` an employee of defendants County and Sheriff.

14. Upon information and belief, and at all times hereinafter mentioned, defendant
Roberts was and is a resident of the County of Erie, State of New York, and was and continues to
be an employee of defendants County and Sheriff.

1 5. Upon information and belief, and at all times hereinafter mentioned, defendant
Kozaczka was and is a resident of the County of Erie, State ofNew York, and was and continues to
be an employee of defendants County and Sheriff.

Page 5 of 26

90f 30

 

 

. .y. rNDEx No. 811385/201/
. ' ~‘-= 09/18/17 P3Egle 12 of 32
NYSCEF poc. No. 1 REc van NYSCEF= 08/17/2017

1 6. Upon information and belief, and at all times hereinafter mentioned, defendant
Robinson was and is a resident of the County of Erie, State ofNew York, and was and continues to
be an employee of defendants County and Sheriff.

17. Upon information and belief, and at all times hereinafter mentioned, defendant
Wanat was and is a resident of the County of Erie, State of New York and was and continues to be
an employee of defendants County and Sheriff.

18. Upon information and belief, and at all times hereinafter mentioned,
defendants John Does were and are residents of the County ofErie, State of New York and were and
continue to be employees of defendants County and Sheriff.

19. That upon information and belief, and nat all times hereinafter mentioned,
defendants Maxim were and are foreign business corporations authorized and existing under and by
virtue of the laws of Maryland, and authorized to conduct business in New York State, and do so
under the trade name Maxim Staffing Solutions and/or Maxim Physician Resources.

20. That upon information and belief, defendant Julian was and continues to be
a resident of Erie County, New York and was, at all times hereinafter mentioned, an employee of
defendants Maxim and/or County and/or Sheriff.

21. That upon information and belief, defendant Gibbens was and continues to
be a resident of Erie County, New York and was, at all times hereinafter mentioned, an employee
of defendants Maxim and/or County and/or Sheriff.

22. Upon information and belief, at all times hereinafter mentioned, defendant -
J ames Thomas (“Thomas”) was and continues to be a resident of the County of Erie and State of

New York.

Page 6 of 26

10 Of 30

 

INoEx No. 811385/201‘»'
.OQUSH] P3gel3of32
REcE van NYscEF= 08/17/2017

 

_ NYSCEF Doc. No. 1

23. Upon information and belief, at all times hereinafter mentioned, defendant
Joseph Damico (“Damico”) was and continues to be a resident of the County of Erie and State of
New 4York.

24.' Upon information and belief, at all times hereinafter mentioned, defendant
Ariel Simms (“Simms”) was and continues to be a resident of the County of Erie and State ofNew
York.

Conditions Precedent

25. That on November 3, 201 6, plaintiff caused defendants County, Erie, Sheriff,
Howard and Diina to bc personally served with aNotice of Claim pursuant to the Laws of the State
of'-New York relating to the allegations of the Complaint herein.

26. That on July 10, 2017, plaintiff submitted to an oral examination by the
defendants County, Sheriff, Howard and Diina pursuant to Section SO-e of the General Municipal
Law.

27. That the plaintiff has otherwise exhausted any and all administrative remedies
relating to the action herein.

28. That more than 30 days have passed since the service of the Notice of Claim
herein, and the defendants have failed, declined, or otherwise refused to pay the claim herein.

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS,
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA, SUNDBERG, LATES, YETZER,
ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF ALLEGES
UPON INFORMATION AND BELIEF:

29. Plaintiff repeats and realleges each and every allegation contained in the

foregoing paragraphs of this Complaint as if the same were more fully set forth herein.

Page 7 of 26

ll Of 30

 

INDEX NO. 811385/2011'

09/18/17 P3ge 14 Of 32
RECE van NYSCEF; 08/17/2017

 

_ NYSCEF Doc. No. 1

30. That on or about September 2, 2016, plaintiff was arrested in the City of
Buffalo and charged with various violations of the Penal Law of the State of New York.

31 . He was thereafter remanded to,the custody, control and supervision of all the
defendants to await trial on the above charges.

32. That the plaintiff was thereafter housed for custody at the Erie County Holding
Center and thereafter, at the Correctional Facility in Alden, New York, which facilities are under the
care, custody and control of defendants.

33. That upon information and belief, the plaintiff, while under the care, custody,
and control ofdefendants, plaintiff was assaulted and did sustain serious personal injuries as a result
of that assault While incarcerated at the Erie County Correctional Facility.

34. That as a result of the aforesaid conduct, plaintiff suffered severe and
permanent injuries, has and will continue to incur medical and hospital expenses related to his care,
treatment and attempted cure of said injuries and residual effects thereof, has been and may be
further subjected to the impairment of his earnings, future earnings and/or future earning capacity
as a result of the injuries sustained

351 That upon information and belief, the incident herein described and the
resultant injuries and damages sustained were caused as a result of the negligence, carelessness, '
reckless and/or unlawful conduct on the part of the agents, servants and/or employees of all of the
defendants herein, more particularly:

(a) in failing to appropriately supervise and observe the plaintiff while he
was incarcerated;

(b) in failing and omitting to ensure the plaintiff was provided and
supplied with the necessary supervision and facilities for the
prevention of the plaintiff s injuries, particularly when the defendants
had actual and constructive knowledge and information regarding the
plaintiffs risk for injury;

Page 8 of 26

12 Of 30

l P I§§E§:§g. 811385/2017
OQ/lg/l?REé%q§ED §§SCEF: 08/17/2017

 

 

` NYSCEF Doc. No. 1

(c) . In failing to properly screen and evaluate the plaintiff for the risk of
personal injury;

(d) negligently, carelessly and failing and admitting to train employees,
including, but not limited to the screening of inmates for risk of
injury;

(e) causing, allowing and permitting untrained employees, but not limited
to its supporting staf[" to screen inmates for risk of injury;

(f`) negligently, carelessly and recklessly failing and omitting to provider
- persons such as the plaintiff with any notice or warning of the lack of
knowledge of the staff of the defendants;

(g) causing, allowing and permitting untrained personnel to the needs of
the inmates;

(h) negligently, carelessly and recklessly supervising its employees
performance of their duties;

(i) failing and omitting to ensure the plaintiff was provided and supplied
with the necessary medical attention;

(j) failing and omitting to have adequate and comprehensive policies,
procedures and/or guidelines established and in place to prevent the
lack of acceptable medical care to inmates;

(k) failing to follow those policies, procedures and/or guidelines already
in place at the time of the occurrence herein; and

(l) _ that the defendants were otherwise negligent, careless and reckless.
36. That defendants affirmatively created the dangerous and defective condition

described herein.
3 7. That as a result of the foregoing, the plaintiff has sustained general and special

damages in an amount that exceeds the jurisdictional limits of all lower courts that would otherwise

have jurisdiction

Page 9 of 26

13 of 30

 
   
 

l.NL)lL`X NO. UlljUb/ZUll

l
‘ OQ/lg/l?as%§?$se€u?fs§fr= 08/17/2017

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS,
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA,_ SUNDBERG, LATES, YETZER,
ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF A_LLEGES
UPON INFORMATION AND BELIEF:

38. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

39. At the time and place aforesaid, the defendants were acting under color of the
law of the State ofNew York and deprived plaintiff of the privileges and immunities guaranteed to
every citizen of the United State by the Fifth, Eighth and Fourteenth Amendments to the United
States Constitution, and by reason thereof this Court has jurisdiction over plaintiffs claim for
violation of his Federal Civil rights, pursuant to the provisions of 42 U.S.C. §1983.

40. That all enumerated defendants were acting under color and authority of the
Law, and were acting in a capacity as agents, servants and employees of defendants

41 . That the entire course of conduct of defendants as enumerated above was in
violation of plaintiffs federally secured Constitutional rights,

42. That as a result of the foregoing, the plaintiff has sustained general and special
damages in an amount that exceeds thejurisdictional limits of all lower courts that would otherwise
have jurisdiction

43. That the plaintiff is entitled to an award of attorneys fees for the prosecution

of the within action.

Page 10 of 26

14 of 30

NDE.x No. 311385/201/
09/18/17MP3gVI710132
nn NYSCEF 08/17/2017

 

FI_LED. ER;ES§Q_- \
l

_ NYSCEF DOC. NO.

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS,
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA, SUNDBERG, LATES, YETZER,
ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF ALLEGES
UPON INFORMATION AND BELIEF:

44. Plaintiff repeats and restates the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

45. That the defendants herein had actual and constructive knowledge that
plaintiff was in fear for his safety from other inmates.

46. That the defendants knew that the plaintiff was in need of supervisory

nn incarceration, but failed and/or refused to timely provide such confinement for him when it was
necessary in order to prevent plaintiff from being attacked by fellow inmates.

47. That the defendants had subjective and objective knowledge of the risk of
serious harm to the plaintiff if he was not immediately removed from his assigned housing unit, and
consciously ignored the risk to plaintiff.

48. That the conduct of all of the defendants herein amounted to more than mere
negligence, and instead, amounted to deliberate indifference to the plaintiffs safety.

49. That the defendants provided grossly inadequate care and, in fact, took no
measures to provide for plaintiffs safety for an unreasonable and inordinate period of time.

50. That the lack of evaluation and moving of plaintiff to another housing unit
caused plaintiff to needlessly suffer pain and may bring about his need for further medical
intervention

51. That the negligence of the defendants, and his resultant injuries, produced

physical injury to the plaintiff

Page 11 of 26

15 Of 30

 

NDEX NO. 811.585/21)11'

-09/13/17REF>ag\1;1;1)8Nc§){fs§§F 08/17,2017

 

_ NYsCEF poc. No. 1

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST THE ALL
DEFENDANTS, PLAINTIFF ALLEGES:

52. Plaintiff repeats and realleges each of the allegations contained in the
foregoing paragraphs of this Complaint as if the same were more fully set forth herein,

53. That the policies and procedures and the willful and wanton conduct of
defendants, their agents, servants and employees, reflect a reckless and careless disregard and
dcliberate indifference for the rights of the plaintiff to receive proper and adequate medical
evaluation and attention so as to merit an award of damages against defendants

54. That the defendants’ actions indicate a willful misconduct, wantonness and

l want of care which have raised the presumption of conscious indifference to the consequences to
plaintiff, thus entitling plaintiff to an award of damages

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA, SUNDBERG, LATES, YETZER,
ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF ALLEGES
UPON INFORMATION AND BELIEF:

Municipal Liabilitv Pursuant to 42 U.S.C. 8 1983

55. Plaintiff` repeats and restates the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more ftllly set forth herein,

5 6. At all times hereinafter mentioned, defendants Kania, Sundberg, Lates, yetzer,
Roberts, Kozaczka, Robinson, Wanat and John Does were on duty as corrections officers employed
by defendants County, Sheriff, Howard and Diina.

57. That said defendants were acting under the color of law, and did cause the

deprivation of plaintiffs Constitutional rights by failing to provide an environment free from harm.

Page 12 of 26

16 Of 30

1NUh.`.X NO. 511.385/21)1/

09/18/17RE§99V€E0|_9NCY)];§§F : O 8 / l 7 /2 0 1 7

lFI‘LED: ER . ~ . _. ' .1.1,¢',

NYSCEF Doc. No. 1

 

58. That defendants knew plaintiff was housed with other inmates from whom
threats of bodily harm had been made, yet failed and refused to take any steps to protect plaintiff

59. That prior to the within incident, defendants had received notice from plaintiff
of these threats

60. That upon information and belief, at all times hereinafter mentioned, it was
the policy and custom of defendants County and Sheriff to overlook, excuse and disregard
unprovoked acts of violence by its inmates against each other.

61. That upon information and belief, it was the policy, custom and practice of
defendants to overlook disputes among inmates

62. That upon information and belief, by overlooking, excusing or disregarding
the wrongful conduct of the defendants Thomas, Damico and Simms, these defendants have adopted
a rule or unwritten rule, or defendants have established a policy or custom of deliberate indifference
to unlawful conduct as complained of herein,

63. That defendants’ failure to take measures to train and supervise its officers
and inmates and to curb assaults-on members of the general public by inmates was a proximate cause
of the constitutional violations alleged herein,

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA, SUNDBERG, LATES, YETZER,
ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF ALLEGES
UPON INFORMATION AND BELIEF:
Resr)ondeat Superior/Vicarious Liabilitv

64. Plaintiff repeats and restates the allegations contained in the foregoing

paragraphs of this Complaint as if the same were more fully set forth herein,

Page 13 of 26

17 Of 30

 

INDEX NO. BllJBb/Z()l/

OQ/lg/l?RE%§P\§E§ONQfS§EZ]F: 08/17/2017

 
   

NYSCEF Doc. No. 1

65. That on or about September 29-3 0, 2016, defendants County, Sheriff, Howard
and Diina were responsible for the training, supervision and actions of defendants Kania, Sundberg,
Lates, Yetzer, Roberts, Kozaczka, Robinson, Wanat and John Does, and that said defendants Kania,
Sundberg, Lates, Yetzer, Roberts, Kozaczka, Robinson, Wanat and John Does were acting within
the scope of their employment with said defendants County, Sheriff, Howard and Diina.

66. That the blatant disregard for the safety of the plaintiff while in the custody
of defendants was ratified by defendants County, Sheriff, Howard and Diina, and were in furtherance
of the purposes and aims of defendants County, Sheriff, Howard and Diina.

67. That defendants County, Sheriff, Howard and Diina were willful, wanton,
reckless and negligent in employing defendants Kania, Sundberg, Lates, Yetzer, Roberts, Kozaczka,
Robinson, Wanat and John Does

68. That by reason of the foregoing, plaintiff suffered severe, painful, permanent
and personal inj uries; was rendered sick, sore lame and disabled, and has suffered a loss of

enjoyment and quality of life.

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
COUNTY, SHERIFF, GIBBENS, JULIAN AND
MAXIM, PLAINTIFF ALLEGES:
69. Plaintiff repeats and realleges each and every allegation contained in the
foregoing paragraphs of this Complaint as if the same were more fully set forth herein,
70. That upon information and belief, at all times hereinafter mentioned,

defendants hired employees agents, servants and contractors that held themselves out as duly

qualified to render proper and adequate medical treatment and services including providing physical

Page 14 of 26

18 Of 30

 

NYSCEF poc. No. 1 v ' RECE

      

-L 09/18/17 Page 21 of

examinations and medical care to those persons under the care and custody of the defendants,
including plaintiff
71. 'l`hat. upon information -and belief, at all times hereinafter mentioned,
defendants, through their employees agents servants and contractors failed to render medical
evaluation and attention to the plaintiff
72. That upon information and belief, from September 2, 2016 up to and including
the present time, defendants, through their employees agents servants and contractors failed to
provide adequate and essential medical evaluation and care and treatment to the plaintiff
73. That by reason of the carelessness negligence and recklessness and medical
malpractice of the defendants through their employees,_ agents servants and contractors in the
medical care and treatment and services rendered to and for plaintiff, plaintiff was caused to suffer
severe and great bodily injury with accompanying pain and suffering and sustained bodily and
emotional injuries of a permanent nature.
74. That the amount of damages sought in this action exceeds the jurisdictional
limits of all lower courts that would otherwise have jurisdiction
AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST THE
DEFENDANTS COUNTY, SHERIFF, MAXIM,
JULIAN AND GIBBENS, PLAINTIFF
ALLEGES:
75. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this complaint as if the same were more fully set forth herein.
76. That upon information and belief, and at all times hereinafter mentioned,
defendants County, Sheriff, Maxim, Julian and Gibbens provided physician and nursing services to

inmates incarcerated by or within the Erie County Correctional Facility in Alden, New York.

Page 15 of 26

19 Of 30

DEX fN(§. 811385/2013'
VED NYSCEF: 08/17/2017

ll\JUL)\ NU. UJ.LJCD/LU.LI

OQ/lg/l?an§§§&gzngeetfr; 08/17/2017

 

77. That upon information and belief, and at all times hereinafter mentioned, these

defendants were agents servants and/or employees of defendants County, Sheriffand/or Maxim and
' were acting within the course of their employment with defendants

78. 'That upon information and belief, at all times hereinbefore and hereafter
mentioned, the defendants County, Sheriff, Maxim, Julian and Gibbens committed tortious acts
against plaintiff while acting within the scope of their employment

79. That said tortious conduct committed by defendants County, Sheriff, Maxim,
Julian and Gibbens was ratified by defendants -County and Sheriff.

80. That at the time the tortious acts were committed by defendants County,
Sheriff, Maxim, Julian and Gibbens against plaintiff, defendants were acting in a medical and/or
supervisory and/or managerial capacity for defendants

81 . That defendants County and Sheriff, Howard and Diina were willful, wanton,
reckless and negligent in employing defendants Maxim, Julian and Gibbens.

82. By reason of the foregoing, plaintiff suffered severe, painful, permanent and
personal injuries, was rendered sick, sore, lame and disabled, and suffered loss of enjoyment of life
and that the plaintiff was otherwise damaged

83. By reason of the foregoing, defendants are liable to plaintiff for his damages
in an amount which exceeds the jurisdictional limits of all lower courts which would otherwise have
jurisdiction, and plaintiff will seek damages against the defendants in an amount to be proven and

determined at the trial of this action.

Page 16 of 26

20 of 30

 

lNl)EX NO. UllJHD/¢Ull

ing
. OQ/lg/l?RE§E§lQ/%DZSNQ;§EZF: 0 8 / 1 7 /2 0 1 7

 

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST THE
DEFENDANTS MAXIM AND BIVINS,
PLAINTIFF ALLEGES:

84. ' Plaintiff repeats and realleges each of the allegations contained in the
foregoing paragraphs of this Complaint as if the same were more fully set forth herein.

85. That on or about September 29 and 30, 2016, and thereafter, plaintiff was
incarcerated at the Erie County Holding Center and was entitled to receive adequate medical
evaluation and care by these defendants, their agents servants and/or employees and these
defendants were engaged to provide the plaintiff with competent medical care and treatment

86. That while incarcerated, plaintiff was assaulted by other inmates which
resulted in serious personal injuries to plaintiff.

87. That these defendants, their agents servants and employees failed, refilsed
and delayed in providing the plaintiff with proper evaluation, assistance and care for an unreasonable
and inordinate period of time.

88. That these defendants, their agents servants and employees failed, refused
and delayed in providing proper medical treatment for an unreasonable and inordinate period of time
despite the need for such care, and the symptoms and objective signs of such injury to plaintiff

89. That as a result of the negligence of these defendants, the plaintiff sustained
severe and painful personal injuries

90. That upon information and belief, the within injuries and damages sustained
by plaintiff were caused as a result of the negligence, carelessness and recklessness of these
defendants, their agents servants and/or employees in that they failed to provide plaintiff with proper
evaluation and medical services notwithstanding the readily observable injury and known resulting
risks; in failing to adequately train employees including, but not limited to, defendant Gibbens and

Page 17 of 26

21 cf 30

 
   

J.NUEX NU. UllJUD/AU_L/

NYs‘cEF ooc. No.1 ` v ' j " 1 ` '_' OQ/lg/l?an§rftq/%ifii@icgs?r': 08/17/2017

Julian; in causing, allowing and permitting untrained employees to improperly observe and treat
persons such as the plaintiff; in failing and/or omitting to provide persons such as the plaintiff with
any notice or warning of the lack of knowledge of the staff of these defendants in failing and
omitting to supervise defendants’ personnel in the performance of their duties; in failing and
omitting to insure plaintiff was provided and supplied with any necessary medications and medical
trcatment; in failing and.omitting to have adequate and comprehensive policies procedures and/or
guidelines established and in place to care for inmates; in failing to follow those policies procedures
and/or guidelines already in place at the time-of the within occurrence; in failing and refusing to
obtain, provide, furnish, summon, recommend or afford reasonable and necessary medical
evaluation, attention and treatment for the physical conditions of the plaintiff; in failing to provide
medical care in a timely manncr; in failing to provide sufficient staffing and budgeting to care for
the plaintiff, and that the defendants were otherwise negligence, careless and reckless.
91. That as a result, the plaintiff has suffered grievous harm, and has suffered
severe and permanent physical, mental and emotional injuries
92. That as a result of defendants’ negligence, plaintiff has and will continue to
incur medical and hospital expenses related to plaintiffs care, treatment and attempted cure of said

injuries and residual effects thereof.

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
THOMAS, DAMICO AND SlMMS, PLAINTIFF
ALLEGES

Assault

93. Plaintiff repeats and re-alleges those allegations contained in the foregoing

paragraphs of this Complaint as if the same were more fully set forth herein.

Page 18 of 26

22 Of 30

   

, l llvulhh L‘¢\J. 0.LJ.JuJ/1_va.l
_1_

Nys'csr Doc. No.l ' ' ° 09/18/17£{13€@1§/§1;§¢@§&2& 08/17/2017

94. That on September 29~30, 2016, the plaintiff was incarcerated at the Erie
County Correctional Facility in Alden, New York.

95. Thereafter, defendants Damico and Simms intentionally, and without cause,

' coerced plaintiff from his cell with the knowledge that defendant Thomas had intentions of
assaulting plaintiff

96. That thereafter, defendant Thomas did, in fact, repeatedly kicked and beat
plaintiffs person, throwing him to the floor.

97. That said conduct of these defendants resulted in plaintiff sustaining a
traumatic brain injury, among other injuries.

98. Thereaiier, defendant Thomas'repeatedly kicked plaintiff while plaintiff was
on the tloor.

99. That upon information and belief, these defendants did then drag plaintiff
from the initial point of contact to another location, in total disregard to the serious nature of
plaintiffs injuries

100. That the conduct of these defendants was-without just cause or provocation,
and plaintiff did not consent to such conduct, l

101 .' That by reason of the foregoing, Plaintiff suffered severe, painful, permanent,
and personal inj uries; was rendered sick, sore, lame and disabled, and suffered loss of enj oyment and
quality of life.

AS AND FOR A SEPARATE AND DISTINCT

CAUSE OF ACTION AGAINST DEFENDANT
THOMAS, PLAINTIFF ALLEGES:

Battel_'y

102. Plaintiff repeats and realleges the allegations contained in the foregoing

paragraphs of this Complaint as if the same were more fully set forth herein.

Page 19 of 26

23 of 30

 

NYSCEF Doc. No .

l .LL\|ULA L\|\J. O.L.L_)OJ/LVJ.I

M-
'° 09/18/1711£§£1&§%9§§&= 08/17/2017

  

A
_;

 

103. That on September 29-30, 2016, while plaintiff was incarcerated at the Erie
County Correctional Facility in Alden, New York, defendant Thomas intentionally struck and kicked
the plaintiff, and then threw plaintiff to the ground. Th'ereaiter, this defendant did repeatedly kick
' plaintiff while plaintiff was on the ground.

l 04. 'l`hat defendant Thomas intended to subject the plaintiff to harmful, injurious,
and offensive bodily contact.

105. That defendant Thomas did, in fact, subject the plaintiff to harmful, injurious,
and offensive bodily contact. n

106. That the physical contact perpetrated by defendant Thomas was without just
cause or provocation, and plaintiff did not consent to such physical contact.

107. That the force used by defendant Thomas against plaintiff was grossly
excessive and patently unreasonable under the circumstances.

108. That by reason of the foregoing, plaintiff suffered severe, painiiil, permanent,
and personal inj uries; was rendered sick, sore, lame and disabled, and suffered loss of enj oyment and
quality of life. n

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
THOMAS, DAMICO AND SIMMS, PLAINTIFF
ALLEGES

Intentional Infliction of Emotional Distress

109. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein,

l l 0. That on September 29-30, 2016, plaintiff was incarcerated at the Erie County

Correctional Facility in Alden, New York.

Page 20 of 26

24 Of 30

 

 
   

lNUEX NO. U.Ll.jdb/ZU.L/

_ N¥s`car ooc. No. 1 ` ' 7 7 " ‘ _ ' "g'|‘ OQ/lg/l?as|e)§fi?ag?ri §§EZF. 08/17/2017

111. Thereafter after having been coerced into leaving his cell by defendants
Damico and Simms,, defendant Thomas intentionally struck and kicked the plaintiff and threw him
to the ground.

1 12. That the aforementioned conduct of defendants was so shocking, extreme and
outrageous that it exceeds all reasonable bounds of decency. That there was no justification or
reason for the aforementioned conduct of defendants

113. That by their conduct and under circumstances known to them, defendants
intended to cause such severe emotional distress and such conduct made it substantially certain that
such distress would follow.

114. That by his conduct, and under circumstances known to them, defendants
acted recklessly and with utter disregard to the consequences of their actions

115. That the aforementioned conduct of defendants directly and proximately
caused the plaintiffs severe emotional injury and distress

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS

THOMAS, DAMICO AND SIMMS, PLAINTIFF
ALLEGES:

Negligent Infliction of Emotional Distress
1 16. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein,
l 17. That on September 29-30, 2016, plaintiff was incarcerated at the Erie County
Correctional Facility when defendants Damico and Simms coerced plaintiff from his cell, defendant
Thomas intentionally struck and kicked the plaintiff and threw him to the ground.
118. That the aforesaid conduct and actions of defendants constituted traumatic

events which unreasonably endangered the safety of the plaintiff.

Page 21 of 26

25 Of 30

l|.\|lJEi)\ NU. UllJUD/AUJ.I

OQ/lg/URE*§§QV€EBSNQE§EF= osm/2017

 

119. That by reason of the aforesaid conduct and actions of defendants, plaintiff
feared for his personal safety.
120. 'That plaintiff did not consent to the commission of the aforesaid conduct by
the defendants
121. That the conduct of the defendants was not otherwise just, authorized, or
privileged.
122. That the aforementioned conduct of defendants was so shocking, extreme and
outrageous that it exceeds all reasonable bounds of decency.
123. That the aforementioned conduct of defendants Thomas directly and
proximately caused the plaintiff severe emotional injury and distress
AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
COUNTY, SHERIFF, HOWARD, DIINA,
KAN"IA, SUNDBERG AND JOHN DOES,
PLAINTIFF ALLEGES
Failure to Intervene
124. Plaintiff repeats and reiterates the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein,
125. That on September 29-30, 2016, plaintiff was incarcerated at the Erie County
Correctional Facility in Alden, New York.
126. 'I`hcrcafter, defendant Thomas struck and kicked the plaintiff, and threw him
to the ground.
127. That while defendant Thomas was striking, assaulting and battering the

plaintiff, these defendants were within a few feet of the assault sufficient to constitute direct contact

between plaintiff and defendant Thomas

Page 22 of 26

26 Of 30

 

NULX NU. UllJUD/AU.L/

l
" OQ/l@/UREFC’§Q&BQNQE§€F= osm/2017

‘.\‘,'

128. That by their conduct, these defendants assumed a duty to protect plaintiff
from the striking, battering and assault by defendant Thomas

129. That said defendants knew plaintiff would suffer harm if they did not take
timely action to protect him.

130. That said defendants did not take any steps to protect the plaintiff from the
assault by defendant Thomas and, in fact such individuals stood idly by and watched as plaintiff was
repeatedly struck by defendant Thomas

13 1 . That plaintiff reasonably relied upon the officers assumption of duty that they
would protect him from an assault by defendant Thomas

132. That by reason of the foregoing, plaintiff suffered severe, painful, permanent,
and personal injuries; was rendered sick, sore, lame and disabled, and suffered loss of enj oyment and
quality of life.

AS AND FOR A SEPARATE AND DISTINCT
CAUSE OF ACTION AGAINST THE

DEFENDANT THOMAS, PLAINTIFF
ALLEGES: '

Negligence

133. Plaintiff repeats and realleges the allegations contained in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein.

134. That upon information and belief, the defendant was negligent, reckless
careless willful, and wanton in striking, kicking and throwing the plaintiff to the ground, resulting
in serious and permanent bodily injuries to the plaintiff,

135. As a result of the negligence of the defendant Thomas the plaintiff was

injured intemally, extemally, and permanently in and about the face, head, back, chest, shoulders

Page 23 of 26

27 Of 30

 

  

_i..>_é.'

 

limbs torso, and nervous system, so that he became and will continue to be disabled and will
continue to suffer pain and discomfort, distress and psychological adjustment

136. ` That the plaintiff _was at all times using due care.

137. That by reason of said injuries, the plaintiff required the services of
physicians surgeons nurses hospitals and medicines and will continue to incur such expenses in
the future; that as a_ result of the aforesaid injuries and the resulting disabilities said plaintiff was .
incapacitated from his normal activities may be incapacitated in the future, and as a result of the
aforesaid inj uries, the future earning capacity of said plaintiff has been partially and/or permanently
impaired, and as a result of the aforesaid, the plaintiff was otherwise damaged.

As AND FoR A sEPA'RATE AND DISTINCT
CAUSE OF ACTION AGAINST DEFENDANTS
COUNTY, SHERIFF, HOWARD, DIINA,
KANIA, SUNDBERG, LATES, YETZER,

ROBERTS, KOZACZKA, ROBINSON, WANAT
AND JOHN DOES, PLAINTIFF ALLEGES:

Negligence

138. Plaintiff repeats and realleges the allegations contained_in the foregoing
paragraphs of this Complaint as if the same were more fully set forth herein,

139. That upon information and belief, the defendants were negligent, reckless
careless willful, and wanton in failing to keep defendant Thomas from striking, kicking and
throwing the plaintiff to the ground, resulting in serious and permanent bodily injuries to the
plaintiff, n n

140. As a result of the negligence of these defendants, the plaintiff was injured
intemally, externally, and permanently in and about the face, head, back, chest, shoulders limbs
torso, and nervous system, so that he became and will continue to be disabled and will continue to

suffer pain and discomfort, distress and psychological adjustment

Page 24 of 26

28 Of 30

J.NUC;}\ NU. ULJ.JUD/ LU.L\

NY§CEF DOC. NO l - v v U_`; v' 4 ‘ l ` _. 09/18/17RE€MSQ\IQ;L3LZF: 08/17/2017

 

.L|.\|Uflu\ NU. Ul.LJUD/LU.L/

_° OQ/lg/l?aa|e§§&§lu?;§r?r: 08/17/2017

_i..§¢'

 

141. That the plaintiff was at all times using due care,

142. That by reason of said injuries the plaintiff required the services of
physicians surgeons nurses hospitals and medicines and will continue to incur such expenses in
the future; that as a result of the aforesaid injuries and the resulting disabilities said plaintiff was
incapacitated from his normal activities may be incapacitated in the future, and as a result of the
aforesaid inj uries, the future earning capacity of said plaintiff has been partially and/or permanently
impaired, and as a result of the aforesaid, the plaintiff was otherwise damaged.

Demand for Punitive Damagg

143. The actions of the defendants herein were extreme and outrageous and shock
the conscience of a reasonable person, Consequently, an award of punitive damages is appropriate
to punish the defendants for their deliberate indifference and malice towards the plaintiff and his
rights as outlined above.

144. As such plaintiff demands judgment against defendants in an amount to be
determined at trial.

WHEREFORE, the plaintiff respectfully the following forms of relief :

A) Compensatory and special damages against the defendants and each of them
jointly and severally, in an amount to be determined at trial;

B) Punitive Damages against all individual defendants in an amount to be
determined by a properly instructed jury;

C) Costs disbursements and attomeys’ fees as stated above;
D) lnterest on the aforementioned judgments and
E) Such other and further relief that the Court deems just and proper.

Dated: August l, 2017
Hamburg, New York

Page 25 of 26

29 Of 30

 

 

NYS'cEF `Doc. No.

lNDhiX NO. U.Ll.$l$b/AUL/

OQ/lS/l?RE|§§g§E§Z

NQ;§EZF= 08/17/2017

sHAw & sHAw P.g, _,,/

J/, *

 
 

Leonard/D. ZaccaM __.
Attom¢y for Plaintiff
Offrce and Post Ofli Address
4819 South Park Avenue
Hamburg, New York 14075
(716) 648-3020 Telephone
(716) 648-3730 Fax

lzacca ino shawla c.com

 

Page 26 of 26

30 Of 30

